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7
8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA

10   ORLANDO GARCIA,                              ) Case No.: 2:19-cv-10721-FMO-GJS
                                                  )
11          Plaintiff,                            )
                                                  ) NOTICE OF SETTLEMENT AND
12     v.                                         ) REQUEST TO VACATE ALL
13   BIG 5 CORP., a Delaware Corporation; and)) CURRENTLY SET DATES
     Does 1-10,                                   )
14
            Defendants.                           )
                                                  )
15                                                )
                                                  )
16                                                )
17         The plaintiff hereby notifies the court that a global settlement has been reached in
18   the above-captioned case and the parties would like to avoid any additional expense,
19   and to further the interests of judicial economy.
20          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
21   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
22   parties will be filed within 60 days.
23
                                       CENTER FOR DISABILITY ACCESS
24
25   Dated: April 13, 2020             By: /s/ Phyl Grace
26                                            Phyl Grace
                                              Attorney for Plaintiff
27
28


     Notice of Settlement             -1-                2:19-cv-10721-FMO-GJS
